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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

APPEAL NO. 24-1945

DISTRICT COURT NO. 23-10171
HON. DENISE PAIGE HOOD

IN RE:
CHRISTOPHER D. WYMAN BANK CASE NO, 12-32264
Debtor(s), CHAPTER 7
HON: D. S. OPPERMAN
\
MICHAEL E. TINDALL,
. Appellant,
¥.
SAMUEL D. SWEET,
Appellee.
\

APPELLANT’S CERTIFICATE
REGARDING TRANSCRIPTS ON APPEAL
The issues raised in this appeal are issues of law and, therefore, are to
be reviewed de novo.’ Under a de novo standard of review, the reviewing
- court decides an issue independently of, and without deference to, the trial

court's or district court’s determination.” The reviewing court decides the

1 See Deutsche Bank Nat. Trust Co. v. Tucker, 621 F.3d 460 (6th Cir. 2010)
(statutory interpretation and application reviewed de novo); Eubanks v.
CBSK Financial Group, Inc., 385 F.3d 894 (6th Cir. 2004) (application of
judicial estoppel reviewed de novo); Jones v. Hill (In re Hill), 811 F.2d 484,
485-86 (9th Cir.1987) (The validity of a local court rule is a question of law
reviewed de novo.}

2 Menninger v. Accredited Home Lenders (in re Morgeson), 371 B.R. 798,
800 (B.A.P. 6th Cir. 2007).
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issues as if they had not been heard before.’ No deference is given to the
trial court's or district court’s conclusions of law.’ De novo review allows
the reviewing court to examine the interpretation and application of the
relevant statutes and rules independent of the determination of the
bankruptcy court or the district court. Therefore, Appellant is not ordering

any transcripts as none are necessary.

RespectfullySubmitted,

MICHABE E. TINDALL ~
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’ Mktg. & Creative Solutions, Inc. v. Scripps Howard Broad. Co. (In re
Mktg. & Creative Solutions, Inc.), 338 B.R. 300, 302 (B.A.P. 6th Cir. 2006).
‘ Id.; Peerless Ins. Co. v. Miller (In re Miller), 228 B.R. 399, 400 (6th Cir.
BAP 1999).
